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                           UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

                            NOTICE OF JURY TRIAL SETTING

      TAKE NOTICE that the below listed matters are hereby set for JURY SELECTION
AND TRIAL, on Monday, May 19, 2014 at 9:00 AM on a trailing docket before
United States District Judge, Robert C. Brack, at the U.S. Courthouse, 100 N. Church,
Guadalupe Courtroom, North Tower, Fourth Floor, Las Cruces, New Mexico.


      ALL COUNSEL MUST BE PRESENT AT THE CALL OF THE CALENDAR AT
11:00 AM ON THURSDAY, MAY 8, 2014 AT THE SAME LOCATION AS ABOVE.

      Counsel should refer to the procedures regarding due dates for Jury
Instructions and Motions in Limine for Judge Brack which is available on the
Court=s website.

      Motions for continuance are to be filed in accordance with 18 U.S.C.'
3161(h)(7)(A) and United States v. Toombs, 574 F.3d 1262 (2009), setting forth the factual
grounds justifying the continuance. In cases involving multiple defendants, counsel must
file a joint motion for continuance with all counsel agreeing to said motion. If a motion for
continuance is opposed by a co-defendant, movant may file a single opposed motion.


         To conserve judicial resources, the Court MUST be advised of all plea hearings
and/or motions for continuance no later than noon on Tuesday, May 6, 2014 .       Local
counsel is required to appear at all hearings unless excused by the Court. If there are
any requirements for special electronic equipment to be brought into the courthouse for
trial, prior arrangements must be made with the U.S. Marshals Service.

     Inquiries and/or notices of change of plea should be directed to Jessica A.
Chavez at (575) 528-1402.



                                                        ___________________________
                                                        MATTHEW J. DYKMAN
                                                        CLERK OF COURT

                             A true copy of this document was served--via mail or
                     electronic means --to counsel of record as they are shown on the Court's Docket.
